Case 3:02-cr-00035-GMG-RWT Document 880 Filed 07/29/13 Page 1 of 7 PageID #: 3044
Case 3:02-cr-00035-GMG-RWT Document 880 Filed 07/29/13 Page 2 of 7 PageID #: 3045
Case 3:02-cr-00035-GMG-RWT Document 880 Filed 07/29/13 Page 3 of 7 PageID #: 3046
Case 3:02-cr-00035-GMG-RWT Document 880 Filed 07/29/13 Page 4 of 7 PageID #: 3047
Case 3:02-cr-00035-GMG-RWT Document 880 Filed 07/29/13 Page 5 of 7 PageID #: 3048
Case 3:02-cr-00035-GMG-RWT Document 880 Filed 07/29/13 Page 6 of 7 PageID #: 3049
Case 3:02-cr-00035-GMG-RWT Document 880 Filed 07/29/13 Page 7 of 7 PageID #: 3050
